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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                Northern District of Texas


 Case number (if known):                                            Chapter     11                                                        ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                         04/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              MQ Lakewood Hill, LLC



    2. All other names debtor used
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                  4      5 – 3     1   8    3   4    1   0
       Identification Number (EIN)



    4. Debtor's address                           Principal place of business                                   Mailing address, if different from principal place of
                                                                                                                business

                                                  4622 Maple Ave., Ste 200
                                                  Number           Street                                       Number        Street

                                                  Attn: Donald L. Silverman
                                                                                                                P.O. Box
                                                  Dallas, TX 75219-1073
                                                  City                                   State    ZIP Code
                                                                                                                City                               State      ZIP Code

                                                  Dallas                                                        Location of principal assets, if different from principal
                                                  County                                                        place of business

                                                                                                                 8424 Lakewood Hill Dr.
                                                                                                                Number        Street




                                                                                                                 Fort Worth, TX 76137
                                                                                                                City                               State      ZIP Code




    5. Debtor's website (URL)



    6. Type of debtor                             ✔
                                                  ❑      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                  ❑      Partnership (excluding LLP)

                                                  ❑      Other. Specify:




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Debtor      MQ Lakewood Hill, LLC                                                                                Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ✔ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ❑ None of the above
                                                B. Check all that apply:
                                                ❑    Tax-exempt entity (as described in 26 U.S.C. §501)

                                                ❑    Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)

                                                ❑    Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    5     3   1   3

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑    Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑    Chapter 9
     debtor” must check the first subbox. A     ✔
                                                ❑    Chapter 11. Check all that apply:
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V             ❑     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     of chapter 11 (whether or not the                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                          operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                            exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                            debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                            proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                            balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                            any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑     A plan is being filed with this petition.

                                                      ❑     Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                            accordance with 11 U.S.C. § 1126(b).
                                                      ❑     The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                            Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                            Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                            (Official Form 201A) with this form.
                                                      ❑     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                                ❑    Chapter 12

    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes.   District                                       When                    Case number
                                                                                                               MM / DD / YYYY
     If more than 2 cases, attach a                       District                                      When                     Case number
     separate list.                                                                                            MM / DD / YYYY

  10. Are any bankruptcy cases pending          ❑ No
                                                ✔ Yes.
      or being filed by a business partner
      or an affiliate of the debtor?            ❑        Debtor MQ Lakewood Two, LLC                                            Relationship affiliate
                                                          District Northern District of Texas                                    When           4/18/2022
     List all cases. If more than 1, attach a
                                                                                                                                               MM / DD / YYYY
     separate list.
                                                          Case number, if known




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Debtor        MQ Lakewood Hill, LLC                                                                          Case number (if known)
             Name


  11. Why is the case filed in this   Check all that apply:
      district?
                                      ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                      ❑
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                      ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have     ✔ No
                                      ❑
      possession of any real
      property or personal property
                                      ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?                                ❑     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?


                                                ❑     It needs to be physically secured or protected from the weather.
                                                ❑     It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                      (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                      options).
                                                ❑     Other
                                                Where is the property?
                                                                           Number         Street




                                                                           City                                           State       ZIP Code
                                                Is the property insured?
                                                ❑ No
                                                ❑ Yes.        Insurance agency
                                                              Contact name
                                                              Phone

          Statistical and administrative information

         13. Debtor’s estimation of   Check one:
             available funds?         ✔ Funds will be available for distribution to unsecured creditors.
                                      ❑
                                      ❑ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                         creditors.

         14. Estimated number of
                                       ✔
                                       ❑    1-49 ❑ 50-99                  ❑       1,000-5,000 ❑ 5,001-10,000          ❑    25,001-50,000 ❑ 50,000-100,000
             creditors                 ❑    100-199 ❑      200-999        ❑       10,001-25,000                       ❑    More than 100,000


         15. Estimated assets          ❑    $0-$50,000                       ✔
                                                                             ❑      $1,000,001-$10 million                ❑       $500,000,001-$1 billion
                                       ❑    $50,001-$100,000                 ❑      $10,000,001-$50 million               ❑       $1,000,000,001-$10 billion
                                       ❑    $100,001-$500,000                ❑      $50,000,001-$100 million              ❑       $10,000,000,001-$50 billion
                                       ❑    $500,001-$1 million              ❑      $100,000,001-$500 million             ❑       More than $50 billion




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Debtor        MQ Lakewood Hill, LLC                                                                                 Case number (if known)
             Name



                                            ❑    $0-$50,000                            ✔
                                                                                       ❑   $1,000,001-$10 million                  ❑   $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑    $50,001-$100,000                      ❑   $10,000,001-$50 million                 ❑   $1,000,000,001-$10 billion
                                            ❑    $100,001-$500,000                     ❑   $50,000,001-$100 million                ❑   $10,000,000,001-$50 billion
                                            ❑    $500,001-$1 million                   ❑   $100,000,001-$500 million               ❑   More than $50 billion



           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                    Executed on     04/18/2022
                                                                    MM/ DD/ YYYY



                                                ✘ /s/ Donald L. Silverman                                              Printed name
                                                                                                                                       Donald L. Silverman
                                                    Signature of authorized representative of debtor


                                                    Title                        Manager



         18. Signature of attorney
                                                ✘                        /s/ Vickie L. Driver                          Date      04/18/2022
                                                                                                                                 MM/ DD/ YYYY
                                                    Signature of attorney for debtor



                                                     Vickie L. Driver
                                                    Printed name

                                                     Crowe & Dunlevy, P. C.
                                                    Firm name

                                                     2525 McKinnon St., Suite 425
                                                    Number          Street


                                                     Dallas                                                               TX              75201
                                                    City                                                                 State            ZIP Code



                                                     (214) 420-2140                                                        vickie.driver@crowedunlevy.com
                                                    Contact phone                                                         Email address



                                                     24026886                                                              TX
                                                    Bar number                                                            State




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Debtor      MQ Lakewood Hill, LLC                                                                  Case number (if known)
           Name




         Additional Page


 10. Continued

                                    Debtor MQ Lakewood Three, LLC                                  Relationship affiliate
                                    District Northern District of Texas                            When           4/18/2022
                                                                                                                 MM / DD / YYYY
                                    Case number, if known




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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                  Northern District of Texas

In re        MQ Lakewood Hill, LLC

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                      11


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                     $40,000.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                    $40,000.00

        Balance Due ................................................................................................................................................            $0.00

2.      The source of the compensation paid to me was:

        ❑ Debtor                         ✔ Other (specify)
                                         ❑                                MQ Lakewood Two, LLC

3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔
        ❑     I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        law firm.

        ❑     I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:

        Post-petition services to be paid by Debtor.




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B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        04/18/2022                                              /s/ Vickie L. Driver
                Date                                         Vickie L. Driver
                                                             Signature of Attorney
                                                                                              Bar Number: 24026886
                                                                                              Crowe & Dunlevy, P. C.
                                                                                       2525 McKinnon St., Suite 425
                                                                                                     Dallas, TX 75201
                                                                                              Phone: (214) 420-2140

                                                                            Crowe & Dunlevy, P. C.
                                                            Name of law firm




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                              UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION
                                                               §
IN RE:                                                         §
MQ Lakewood Hill, LLC                                          § Case No.
                                                               §
                          Debtor(s)                            § Chapter 11

                             DECLARATION FOR ELECTRONIC FILING OF
                       BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)

PART I: DECLARATION OF PETITIONER:

As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation, partnership, or
limited liability company seeking bankruptcy relief in this case, I hereby request relief as, or on behalf of, the debtor in
accordance with the chapter of title 11, United States Code, specified in the petition to be filed electronically in this
case. I have read the information provided in the petition and in the lists of creditors to be filed electronically in this
case and I HEREBY DECLARE UNDER PENALTY OF PERJURY that the information provided therein, as well as the
social security information disclosed in this document, is true and correct. I understand that this Declaration is to be
filed with the Bankruptcy Court within five (5) business days after the petition and lists of creditors have been filed
electronically. I understand that a failure to file the signed original of this Declaration will result in the dismissal of my
case.

❑      [Only include for Chapter 7 individual petitioners whose debts are primarily consumer debts] --
       I am an individual whose debts are primarily consumer debts and who has chosen to file under chapter 7. I
       am aware that I may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, understand the
       relief available under each chapter, and choose to proceed under chapter 7.

✔
❑      [Only include if petitioner is a corporation, partnership or limited liability company] --
       I hereby further declare under penalty of perjury that I have been authorized to file the petition and lists of
       creditors on behalf of the debtor in this case.

Date                              /s/ Donald L. Silverman
04/18/2022
                           Donald L. Silverman
                           Manager
                           EIN No. 3 4 1 0




PART II: DECLARATION OF ATTORNEY:

I declare UNDER PENALTY OF PERJURY that: (1) I will give the debtor(s) a copy of all documents referenced by Part
I herein which are filed with the United States Bankruptcy Court; and (2) I have informed the debtor(s), if an individual
with primarily consumer debts, that he or she may proceed under chapter 7, 11, 12, or 13 of title 11, United States
Code, and have explained the relief available under each such chapter.

Date                                  /s/ Vickie L. Driver
04/18/2022                 Vickie L. Driver
                           Attorney
